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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                 Master Case No.:
                                              1:21-MI-55555-JPB


THE NEW GEORGIA PROJECT, et al.,

                         Plaintiffs,          Civil Action No.:
                  v.                          1:21-cv-01229-JPB

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

                         Defendants.


GEORGIA STATE CONFERENCE OF
THE NAACP, et al.,
                   Plaintiffs,                Civil Action No.:
               v.                             1:21-cv-01259-JPB

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of State
for the State of Georgia, et al.,

                         Defendants.
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SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH,
et al.,
                   Plaintiffs,               Civil Action No.:
              v.                             1:21-cv-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                         Defendants.



 STATE DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION
    FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
         CERTIFICATION FOR IMMEDIATE APPEAL
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                              INTRODUCTION

        In their motion, State Defendants demonstrated that the Supreme

Court’s recent holding in Whole Woman’s Health v. Jackson, 142 S. Ct. 522

(2021), and the Eleventh Circuit’s holding in Jacobson v. Fla. Sec’y of State,

974 F.3d 1236 (11th Cir. 2020), make clear that this Court erred in holding

that Plaintiffs have standing to sue State Defendants as to the challenged

claims. In response, Plaintiffs move from one weak, rehashed argument to the

next.

        For example, although Plaintiffs don’t dispute that Supreme Court and

Eleventh Circuit precedent hold that standing cannot be waived at any stage

of litigation, they nonetheless advance the nonsensical argument that State

Defendants have somehow waived “particular arguments” regarding standing.

They don’t deny that in Jacobson the Eleventh Circuit has already rejected the

argument that Plaintiffs can establish standing to sue an official who does not

enforce the law causing their alleged injuries—indeed, Plaintiffs hardly

address Jacobson at all. Nor do Plaintiffs deny Jackson’s central premise:

courts can enjoin only defendants who have the authority to enforce laws, not

laws themselves. So they identify a few areas of election law over which State

Defendants have authority. But they cannot connect that authority to the

injuries alleged in the challenged claims. Their failure to do so makes clear
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that their claimed injuries are not traceable to State Defendants, nor

redressable by an injunction against them.

      And critically, Plaintiffs do not dispute that lack of Article III standing

is an absolute bar to courts’ power to decide the merits of a claim. Yet they

attempt to convince this Court to allow them to continue to pursue claims for

which it clearly lacks jurisdiction on the basis that they have standing to sue

State Defendants on other claims, and that they have standing to pursue the

challenged claims as to other Defendants. This “piggyback” theory of standing

has been firmly rejected by the Supreme Court: “[S]tanding is not dispensed in

gross.” Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996).

      State Defendants are aware that reconsideration or certification for

immediate appeal are not routinely granted. But an intervening development

in Supreme Court law makes clear that this Court erred in holding that

Plaintiffs have standing to sue State Defendants as to the challenged claims.

The Court should grant the motion to reconsider, or, in the alternative, it

should certify the issue for immediate appeal so that the Eleventh Circuit may

clarify its caselaw in light of Jackson.




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                                ARGUMENT

I.   Plaintiffs Fail to Establish Standing.

     Plaintiffs still have not identified any enforcement authority that the

State Defendants could be enjoined from exercising which would redress

Plaintiffs’ alleged injuries as to the challenged claims. The Court therefore

lacks standing and must dismiss the challenged claims.

     A.    Standing Arguments Cannot Be Waived, and the Court Has
           an Independent Duty to Consider Its Jurisdiction at All
           Stages of Litigation.

     Plaintiffs concede that the issue of standing cannot be waived. Pls.’ Resp.

in Opp. to State Defs.’ Mot. for Recons. 6 [Doc. 22] (“NGP Opp.”). Yet they

inexplicably argue that State Defendants have waived “particular arguments”

that Plaintiffs lack standing. Id. Plaintiffs are wrong. The Eleventh Circuit

could not have spoken more clearly when it stated that:

     Federal courts have an independent obligation to ensure that
     subject-matter jurisdiction exists before reaching the merits of a
     dispute. “For a court to pronounce upon ... the constitutionality of
     a state or federal law when it has no jurisdiction to do so is, by very
     definition, for a court to act ultra vires.” If at any point a federal
     court discovers a lack of jurisdiction, it must dismiss the action.

Jacobson, 974 F.3d at 1245 (emphasis added) (citation omitted).

     The Eleventh Circuit has also described the courts’ obligation to consider

standing as “continuing,” and stated that “[u]nder the law of this circuit,



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parties cannot waive subject matter jurisdiction, and we may consider subject

matter jurisdiction claims at any time during litigation.” Belleri v. United

States, 712 F.3d 543, 547 (11th Cir. 2013) (alteration omitted). And of course,

as this Court has noted, “standing implicates the Court’s subject matter

jurisdiction.” Rose v. Raffensperger, 511 F. Supp. 3d 1340, 1350 (N.D. Ga.

2021). 1 Accordingly, the Court retains an obligation to consider Plaintiffs’

standing on a motion for reconsideration. Plaintiffs’ reliance (NGP Opp. 7–8)

on a single out-of-circuit district court case 2 cannot make it otherwise.

      B.    Immediate Relief Is Absolutely Necessary to Correct Errors
            Involving Jurisdiction.

      Plaintiffs further disregard the indispensable nature of Article III

standing in their assertion that the Court may continue to hear claims over

which it has no jurisdiction simply because the claims and parties would not

be removed from the case entirely. Pls.’ Consol. Resp. in Opp. to State Defs.’

Mot. for Recons. 13–14 [Doc. 18] (“Consol. Opp.”). Even if it were true that


1 Plaintiffs plainly misread Rose when they cite it (NGP Opp. 8 n.4) for the
proposition that State Defendants were required to file a new Rule 12(b)(1)
motion to challenge Plaintiffs’ standing. Rose simply held that bringing a
standing challenge through a Rule 12(b)(1) motion is permissible, not
mandatory.
2Hoffman v. Wells Fargo Bank, N.A., No. 13-cv-5700, 2015 WL 3755207, at *9
(E.D. Pa. June 16, 2015).



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failure to dismiss the challenged claims would impose no burden on this Court

or on State Defendants—and it is not true—the Court still must dismiss the

challenged claims against State Defendants because it clearly erred in holding

that Plaintiffs have standing to pursue those claims.

      Indeed, as the Supreme Court has repeatedly held, “standing is not

dispensed in gross.” Lewis, 518 U.S. at 358 n.6. Accordingly, “a plaintiff must

demonstrate standing for each claim he seeks to press.” DaimlerChrysler Corp.

v. Cuno, 547 U.S. 332, 352 (2006). It is of no consequence that Plaintiffs may

have standing to bring other claims against State Defendants, or that they may

have standing to bring the challenged claims against County Defendants. The

question for the Court is whether Plaintiffs have standing to sue these

Defendants for these claims. Plaintiffs cannot piggyback claims in their effort

to drag State Defendants through as much discovery and extended litigation

as possible.

      Furthermore, failing to reconsider the Orders would impose costs on both

this Court and State Defendants. 3 Keeping the State Defendants in as to the


3 Strangely,Plaintiffs suggest (NGP Opp. 16) that State Defendants may have
“evidence of legislative intent within their sole control,” and that State
Defendants would thus be subject to third-party discovery to obtain the
evidence. It is unclear why Plaintiffs expect that members of the executive
branch would be the sole possessors of evidence of legislative intent. Plaintiffs’
apparent desire to go on a fishing expedition through State Defendants’ records

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challenged claims will lead to more motions on these claims, expand the scope

of discovery, and create more discovery disputes. Each of these disputes will

cost this Court and State Defendants time and resources. To compel State

Defendants to engage in discovery and litigation for claims against them over

which this Court has no jurisdiction is clear error, and that error in this Court’s

orders warrants reconsideration.

      C.    The Supreme Court’s Holding in Whole Woman’s Health v.
            Jackson Is an “Intervening Development” in the Law That
            Makes Clear That This Court Erred in Its Interpretation of
            Eleventh Circuit Precedent on Standing.

      Plaintiffs are also wrong when they say “nothing has changed” since the

Court’s orders. Consol. Opp. 13. To the contrary, after this Court rendered its

decision, the Supreme Court issued an opinion that makes Plaintiffs’ lack of

standing clear. Although Jackson did not change the Supreme Court’s standing

doctrine, it is a development that makes the Court’s misinterpretation of

Eleventh Circuit precedent clear.

       It is true, of course, that Jackson considered the Ex parte Young

exception to sovereign immunity, rather than standing. Jackson, 142 S. Ct. at

534. But the Supreme Court’s holding rested on an inquiry that is core to both




does not give them standing to pursue claims against those who do not have
the authority to enforce the provisions of law underlying their claims.

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standing and Ex parte Young analysis: whether a defendant possesses any

authority in connection with a challenged provision of law “that a federal court

might enjoin him from exercising.” Id. Where, as here, the Court cannot enter

an injunction that would redress Plaintiffs’ injury because State Defendants

do not possess authority over the challenged provisions of law, the injury is

neither traceable to the named State Defendants nor redressable by an

injunction against them. 4

      Plaintiffs read much into a scant three sentences regarding causation

and redressability in Georgia Latino Alliance. Consol. Opp. 9–10; NGP Opp. 9.

To the extent that case held that traceability and redressability can be

established where an injury would be redressed by enjoining “each provision”

of law, see Georgia Latino Alliance for Human Rights v. Governor of Georgia,



4 As this Courts has noted, “the requirements of Ex parte Young overlap
significantly with the last two standing requirements—causation and
redressability.” Support Working Animals, Inc. v. DeSantis, 457 F. Supp. 3d
1193, 1210 (N.D. Fla. 2020) (citation omitted). And, as the Eleventh Circuit
has suggested, the bar for traceability and redressability for Article III
standing purposes is higher than the bar to establish a connection to sustain
an Ex parte Young exception. As the Eleventh Circuit has held, “[t]o be a proper
defendant under Ex parte Young—and so avoid an Eleventh Amendment bar
to suit—a state official need only have ‘some connection’ with the enforcement
of the challenged law. In contrast, Article III standing requires that the
plaintiff’s injury be ‘fairly traceable’ to the defendant’s actions and redressable
by relief against that defendant.” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,
1256 (11th Cir. 2020) (citation omitted).

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691 F.3d 1250, 1260 (11th Cir. 2012), rather than enjoining defendants from

enforcing the provision, Jackson has made clear that holding was in error. A

federal court may only “enjoin named defendants from taking specified

unlawful actions.” Jackson, 142 S. Ct. at 535. It may not “purport to enjoin

challenged laws themselves.” Id. (citation and internal quotation marks

omitted). Plaintiffs cannot establish standing against State Defendants simply

by pointing to specific passages of SB 202; under Jackson they must show that

State Defendants have authority to enforce those passages.

      D.    Plaintiffs Fail to Identify Any Responsibility State
            Defendants Exercise That Causes Plaintiffs’ Alleged
            Injuries as to the Challenged Claims.

      Given the importance of enforcement authority to the analysis required

by Jackson, it is striking that Plaintiffs have failed to make any plausible

showing of enforcement authority. In Plaintiffs’ own words, “it is the

enforcement of a statute that imposes the injury; suits to enjoin

unconstitutional statutes are properly brought against officials…who enforce

them.” NGP Opp. 13 (emphasis added). But despite this admission, Plaintiffs

still have not identified any enforcement authority State Defendants possess

as to the challenged claims. They merely pluck a few provisions of SB 202 that

mention the Secretary of State or the State Election Board (SEB), and claim




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these provisions prove that Plaintiffs’ alleged injuries are traceable to State

Defendants and redressable by an injunction against them.

        Article III standing requires more. Plaintiffs bear the burden of showing

that the enforcement authority contained in those provisions is connected, not

merely to the challenged law, but to the specific harms Plaintiffs allege. And

they must also show that an injunction restraining State Defendants from

exercising that authority would redress those harms. Plaintiffs cannot make

that showing. Each piece of evidence proffered to show that the Secretary of

State or the SEB members 5 possess enforcement authority to which the alleged

harms are traceable falls flat.

           1. The Secretary of State’s training, education, and election
              oversight authority 6
         Plaintiffs first contend that the Secretary’s general authority over the

election process is sufficient to establish traceability and redressability. But

they ignore Eleventh Circuit precedent, already cited in State Defendants’



5Plaintiffs offer no enforcement authority that Governor Kemp possesses as to
the challenged law. They rest their entire argument that they have standing
against him on Georgia Latino Alliance for Human Rights v. Governor of
Georgia, 691 F.3d 1250 (11th Cir. 2012). As discussed above, supra section I.C.,
that case offered no significant analysis of traceability and redressability, and
Plaintiffs’ reading of it is clearly inconsistent with Jackson.
6   Consol. Opp. 9 (citing O.C.G.A. § 21-2-50(a); NGP Opp. 10 (same).



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brief in support of motion for reconsideration, holding that “general

supervision and administration of the election laws” does not establish

standing. Jacobson, 974 F.3d at 1254.

       Furthermore, Plaintiffs’ assertion that the Secretary will undertake his

election administration responsibilities “with the goal of obtaining SB 202

compliance” is insufficient because the Secretary’s oversight and training

responsibilities have no causal connection to Plaintiffs’ alleged injuries.

Plaintiffs claim injury based on two things: (1) the criminal prohibition on

offering items of value to voters waiting in line, [No. 1:21-cv-01259-JPB, Doc.

35 ¶¶ 223–32; No. 1:21-cv-01284-JPB, Doc. 83 ¶¶342–48], and (2) an alleged

intent to suppress Georgia voters’ right to speak by voting for the candidates

of their choice. But the Secretary’s responsibilities do not allow him to impose

any penalty for distributing items to voters, nor do they allow him to prevent

Georgians from voting for their preferred candidates. Enjoining the Secretary

from exercising his election oversight authority would therefore have no effect

on Plaintiffs’ alleged injuries. That lack of redressability is fatal to Plaintiffs’

standing arguments.

       The Eleventh Circuit has also already rejected Plaintiffs’ argument that

the Secretary of State’s responsibility to instruct local officials regarding

election requirements establishes traceability and redressability: Where state

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law “already directs” local officials to take an action, “[a]n injunction ordering

the Secretary to stay silent would do nothing to muzzle” the challenged

provisions, which “already bind” the local officials. Jacobson, 974 F.3d at 1257.

As the Court put it, “[t]here is no contrary evidence to suggest that the [local

officials] would suddenly begin to disregard state law in the absence of

instructions from the Secretary.” Id.

           2. The SEB’s power to suspend local election officials 7
        Plaintiffs next say they seek to enjoin the SEB from penalizing local

election officials who fail to enforce SB 202. But Plaintiffs suffer no injury if

County officials are removed from office. If any injury may be inflicted by such

removal, it is for the local officials, not Plaintiffs, to seek relief. See Warth v.

Seldin, 422 U.S. 490, 499 (1975) (“A federal court's jurisdiction…can be

invoked only when the plaintiff himself has suffered some threatened or actual

injury resulting from the putatively illegal action”) (citation omitted). In any

event, Plaintiffs do not allege that the SEB has taken any enforcement action

against local officials, or that such enforcement is imminent, so any injury

which could result from such action is speculative. See Women’s Emergency

Network v. Bush, 323 F.3d 937, 943 (11th Cir. 2003).



7   Consol. Opp. 10; NGP Opp. 11.


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           3. Secretary of       State’s      provision   of   absentee     ballot
              applications 8
        Finally, NGP asserts, without explanation, that the Secretary’s

responsibility to design and make available the absentee ballot application

form makes their claim that SB 202 suppresses the right to vote for one’s

preferred candidate traceable to the Secretary. NGP Opp. 10. Because they

have failed to draw a connection between that responsibility and their claim

against the Secretary, Plaintiffs have not established standing on the

challenged claim. As the Eleventh Circuit has put it, “the elements of standing

‘are not mere pleading requirements but rather an indispensable part of the

plaintiff's case,’” and “each element must be supported.” Jacobson, 974 F.3d at

1245. Establishing standing is Plaintiffs’ burden, and Plaintiffs have failed to

advance any argument as to why a routine administrative responsibility

makes their injuries traceable to the Secretary.

II.     At a Minimum, State Defendants Have Demonstrated They Have
        Grounds for Immediate Appeal If the Court Does Not Reconsider
        Its Orders.

        Plaintiffs also have no plausible objection to an interlocutory appeal. For

example, they incorrectly assert that interlocutory appeal on the question of




8   NGP Opp. 10.


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standing would require the Eleventh Circuit to consider questions of fact.

Consol. Opp. 15. But Plaintiffs do not state any disputed facts which the

Eleventh Circuit would need to consider in deciding whether Plaintiffs have

standing against State Defendants as to the challenged claims. Instead, they

misconstrue an unpublished decision in support of their bald assertion that

redressability in election litigation will, of necessity, turn on the application of

law to facts. Pearson said no such thing. It merely acknowledged that “facts

have played a role in evaluating redressability in other election litigation,” and

decided that the facts could also play a role in that particular case. Pearson v.

Kemp, 831 F. App’x 467, 473 (11th Cir. 2020) (emphasis added) (footnote

omitted). 9 But the facts clearly do not control the standing issue in this case.

The Eleventh Circuit need only consider SB 202 itself, and whether it grants

authority to State Defendants to enforce the challenged provisions. That is a

question of “pure law,” which the Eleventh Circuit “can decide quickly and

cleanly without having to study the record,” and is therefore appropriate for




9In Pearson, the Eleventh Circuit addressed the limited issue of whether it
had jurisdiction to consider an appeal of an emergency TRO entered by the
district court, and determined that the TRO was not an appealable order. 831
F. App’x at 471–72. The issue of the plaintiffs’ standing was not before the
court.

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certification under 1292(b). See McFarlin v. Conseco Servs., LLC, 381 F.3d

1251, 1262 (11th Cir. 2004) (cleaned up).

      Plaintiffs are also wrong when they contend that there is no substantial

ground for difference of opinion. An intervening development in Supreme

Court law has made clear that federal courts lack jurisdiction when the

Defendants have no enforcement authority over challenged provisions of law.

That holding is plainly inconsistent with this Court’s Orders permitting

Plaintiffs to pursue claims over which State Defendants have no enforcement

authority. There are few grounds more substantial for difference of opinion

than controlling Supreme Court precedent.

      Finally, Plaintiffs are wrong when they argue that certification would

not “materially advance the ultimate termination of litigation.” Consol. Opp.

16. Simply put, Article III standing is unlike other issues. 10 It is determinative

of the outcome of these claims. If State Defendants are correct that the Court


10 Plaintiffs conveniently omit some key words from their only case supporting
their contention that it is appropriate to deny certification of a standing issue
over which there is substantial ground for difference of opinion. Consol. Opp.
17. Read in full, Ashmore makes clear that it is discussing the issue of
“standing under the Clayton Act.” Ashmore v. Ne. Petroleum Div. of Cargill,
Inc., 855 F. Supp. 438, 440 (D. Me. 1994) (emphasis added). Statutory standing
is, of course, distinct from Article III standing. And the serious Article III
issues present in this case necessitate immediate resolution of this issue before
proceeding to the merits.


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lacks jurisdiction as to the challenged claims against them, the Court must

dismiss those claims before proceeding to the merits. Jacobson, 974 F.3d at

1245. Removing the challenged claims against State Defendants will end all

further motions practice on these claims—motions which would substantially

delay the termination of this litigation. And it would also reduce discovery

disputes and save “considerable expense on the part of the litigants.” McFarlin,

381 F.3d at 1257.

                               CONCLUSION

      In sum, Defendants have clearly explained why the Supreme Court’s

recent decision in Jackson and the Eleventh Circuit’s decision in Jacobson

make clear that this Court erred in holding that Plaintiffs have standing to

pursue the challenged claims against the State Defendants. Plaintiffs have

offered no plausible response. Accordingly, this Court should grant the motion

for reconsideration or alternatively grant certification for immediate appeal.




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                            Respectfully submitted,

                            Christopher M. Carr
                            Attorney General
                            Georgia Bar No. 112505
                            Bryan K. Webb
                            Deputy Attorney General
                            Georgia Bar No. 743580
                            Russell D. Willard
                            Senior Assistant Attorney General
                            Georgia Bar No. 760280
                            Charlene McGowan
                            Assistant Attorney General
                            Georgia Bar No. 697316
                            State Law Department
                            40 Capitol Square, S.W.
                            Atlanta, Georgia 30334

                            /s/ Gene C. Schaerr
                            Gene C. Schaerr*
                            Special Assistant Attorney General
                            Erik Jaffe*
                            H. Christopher Bartolomucci*
                            Brian J. Field*
                            Riddhi Dasgupta*
                            Joshua J. Prince*
                            Annika M. Boone*
                            SCHAERR | JAFFE LLP
                            1717 K Street NW, Suite 900
                            Washington, DC 20006
                            (202) 787-1060
                            gschaerr@schaerr-jaffe.com
                            *Admitted pro hac vice




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                                  Bryan P. Tyson
                                  Special Assistant Attorney General
                                  Georgia Bar No. 515411
                                  btyson@taylorenglish.com
                                  Bryan F. Jacoutot
                                  Georgia Bar No. 668272
                                  bjacoutot@taylorenglish.com
                                  Loree Anne Paradise
                                  Georgia Bar No. 382202
                                  lparadise@taylorenglish.com
                                  Taylor English Duma LLP
                                  1600 Parkwood Circle
                                  Suite 200
                                  Atlanta, Georgia 30339
                                  (678) 336-7249
                                  Counsel for State Defendants

Dated: February 3, 2022




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Reply Brief has been prepared in Century Schoolbook 13, a font and

type selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
